CaSe 8-17-74291-|38 DOC 8-3 Filed 09/25/17 Entered 09/25/17 10216:55

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CaSe 8-17-74291-|38 DOC 8-3 Filed 09/25/17 Entered 09/25/17 10216:55

UNITED STA'I`ES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

ln re: CASE Nr). 17-?4291-las

Shazia P, Rizwan
CHAPTER 7

Debtor(s).

 

 

RF_.LIEF FROM S'I`A.Y - R_EAL ESTA'[`E AND
COOPERATIV`E APARTMENTS

BACKGROUND lNFORMATION

l. ADDRESS OF REAL PROPERTY on CooPERATl\/E APARTMENT:

15 Yellow Top Lane
Smithtowo, New York 1178’? afk{a 17?63

2. LENDER NAME:

Fay Servicing LLC as servicer for U,S. ROF l'I Legal Title 'I`rust 2015»1, by
U.S. Bank National Association, as Legal Title Trustee

3. MoR'rGAGE DATE:
Ju'ly 13, 200'?
4. PosT-PETmoN PAYMENT ADDRESS:

Fay Servicing, LLC‘
3000 l(ellway Drive, Ste 150
Carmllton, TX 75006

DEBT AND VALUE REPRESENTATIONS
5. TOTAL PRE-PF.TITI{)N AND PosT-PET]T;GN m DEBTEDN less 01= DEBTOR(S} To MovANT As oF THE
MOTION FIL§NG DATE: $ 943,560.66
(THIS w rNOTBE REL:ED UPC)N As A “P.¢¢ YOFF " QUOTA miw_)

6. MOVANT°S ESTIMATED MARKET vALUE OF THE REAL PRUPERTY cut cODPERATrvl-; APAF.TMENT
As oF THE MoTlc)N FILING DATE: $ 799,000.00

T, SOURCE oF ESTIMATED MAR|<.ET vALUE; Broker‘s Price Opiuion (conducted 03)‘30!2017)

 

CaSe 8-17-74291-|38 DOC 8-3 Filed 09/25/17 Entered 09/25/17 10216:55

STATUS OF THE DEBT AS OF THE PETI'I`ION DATE

8. DEBTon(s)’s INDEBTEDNESS To MovANT AS oP THE PETmoN DATE:

A. TOTAL: 5 943,560.66
B. PRlNCIPAL: $ 66?,549.22
C_ INTEREST: $ 180,252.49
D, ESCROW (TAxEs AND lr~rsuRANcE): $ 83,345.55
E. FORCED PLACED msuRANcI-; ExPENDED BY MOVANT: $ 0.00
F. PRE-PETITIQN ATTORNEYS' FEES CHARGED To DEBTOR{s): $ 0-09
G. PRE-PETHION LATE FEES cHARc;ED To DEBTOR(S): $ 0.00

9. CONTRAC‘T INTEP.EST P.ME: 6.375%

(!F THE INTERESF‘ 1b1 TE HA s cHANGED, usf THE mr re(s) AND m TE(s) TH.-: r EA cH RA rs n 'A s m EFFECT
oNA sEPA m re sHEET AND A mi cH THE sHEET As AN EAH;BIJ' 70 mls FoRM .S'rA T£ THE EleBIr
NUMBER HERE: _._J

ID. OTHER PRE-PET{TION FEES, cHAF.G ss on AMOUNTS CHARGED m DEBToR(S)’s Accoum AND
NOT LISTED noosz

Recoverable Balance - $7,413.40

([F .4DDITFON.4L SPACE !S REQUIRED, .(JST THE AMOL-ZVT(S) ONA SEPARA TE SHEETAND A TTACH THE
SHEET AS A N EXH!B}T TO THIS FORM. STA TE THE EXHIB!T NUMBER HERE.` .)

AMOUNT OF POST-PETITION DEFAULT AS OF THE _MOTION FILING DATE
l 1. DATE or RECEIPT 01= LAST PAYMENT: 06!01!2013

|2. NUMBER QF PAYM ENTS DUE FRGM PET!TION DATE TO MOT!ON FlLlNG DATE: l PAYMENTS.

CaSe 8-17-74291-|38 DOC 8-3 Filed 09/25/17 Entered 09/25/17 10216:55

13. POST-PETITION PAYMENTS lN DEFAULT?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PAYMENT AMOUNT AMOUNT AMOUNT AMDUNT AMOUNT LATE FE,E
Dl.JE DATE DUE RECEWED APPLIED APPLIF.D APPL!ED CHARGED
TO TO TO
PRINCIPAL INTEREST ESCROW
03101!2017
TOTAL: $ $ $ $ $ $
14. OTHER PosT-PETlTloN FEES cHARGED To DF.BToR(s):
A. TOTAL: $ 931 .00
B. ArroRNEYs’ FF.ES m coNNEc'rloN wlTH THIS MoTroN: $ 750.00
C. Fu.mo FEE m coNNEcTION wITH THIS MOTION: $ 181-00
D. OTHER PosT-PET]TION ATTORNF.YS' FEES: $
E. PosT-PETlTlON INSPECTlON FF.Es: 5

F, POST-PETlTION APPRA{SAL.’BROKER‘S PR.ICE OPINION FEES $

G. FORCED PLACED lNSURANCE EXPENDED BY MOVANT! $

15. AMouNT HELD IN sUsPENsE BY MovANT: $

16, OTHER POST-PET!T]QN FEES, CHARGES OR AMOIMTS cHARG ED To DEBTOR(s)’s Accouw'r AND
NOT Lls'rer) Aaove:

(IF.»IDD!TJONAL SPA C`E !S REQU!RED, LIST THE AMOUNT{S} ON A SEPARA TE SHEETAND ,-i TTA C`H THE
SHEETA.S` AN E.YH!B!T TO TH)'S FORM. STA TE THE EXHIBIT NUMBER HERE.` .}

CaSe 8-17-74291-|38 DOC 8-3 Filed 09/25/17 Entered 09/25/17 10216:55

REQUIRED ATTACHMENTS TO MOTION

PLEASE ATTACH THE FDLLOWTNG DOCUM"ENTS T[J THIS MOTION AND I'N'DICATE Tl~[E EXHIBIT NUM'BER
ASSOCIATED WITH EACH DOCUMENT.

(l) CQPlEs 01= DOCUMENTS THAT ESTABLISH Mc)vANT’S n~m;REsT rr~l THE sUBJECT PROPERTY. FOR
PURPOSES oF EXAMPLE 0NI.Y, THls MAY BE A COMPLETE AND L-EG!BLF. COPY OF THE

?ROMISSORY NOTE OR OTHER DEBT INSTRU'MENT TOGETHER Wl'I`H A COMPLETE AND LEGI'BI.E
COPY OF THE MORTGAGE AND ANY ASSlGNMEN`I`S l'N THE CHA[N FROM THE DRlGl'NAI..

MORTGAGEE TO THE CURRENT MOVING PARTY. {EXHIBIT A.B.C _]

[2) CoPlEs 01= nocuMENTs mm samust MovANT's sTANDrNG 10 umwa Tms Morrow.
(Exmnrr A B c.}

 

{3) CO‘PI'ES OF DOCUMENTS THAT ESTABLISH THAT MOVANT'S I'NTEREST I`N THE REAL PRDPERTY OR
CDOPERATIVE APARTMENT WAB PE`.RFECTED. FGR THE PURPOSES OF EXAMPLE GN[.Y, THIS MAY
BE A COMPLETE A'ND LEG|BI_E C(}PY OF THE FINANCING STATEM'ENT (UCC -1) FlLED WITH THE
CLERK’S OFF'[CE OR THE REGTSTER OF THE CUUN'I'Y l`N WHICH THE PROPERTY OR. CODPERATIVE
APARTMENT IS LOCATED- (EXHFBIT 5 B_C.)

CaSe 8-17-74291-|38 DOC 8-3 Filed 09/25/17 Entered 09/25/17 10216:55

DECLAR.AT]ON AS TO BUSINESS RECORDS
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./ , -_ v,._ EMOVANT HERElN, DECLARF. PuRs'uANTTc$ZS U. S. C

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law PA RAGRAPHS 1 ,2, AND 3, ABovE) rs DBRWED FROM RECQRDS THAT wERE MADE AT onz~zEAR THE
TIME c)F THE occuRm-:NCE oF TH E MATTERS sETFoRTl-l BY, on FROM 1NF0RMAT10N TRANSMHTED BV,
A PERSON wlTH KNOWLEDGE oF THOSE MATTERS; THAT THE RBCoRDs wElu-: KEPT IN THE COURSE oF
TH E REGULARLY CoNDuCTED AcTIvrrY; AND THAT THE RECORDS WERF. MADE m THE couRsE oF THE
REGULARLY cONDUcTED ACHvlTY As A RJ£GULAR PR,\CTICE.

l FURTHER DECLARE THAT CO.PIES OF AN`Y TRANSACTIONAL. DOCUMENTS ATTACHED TO THIS
FDRM AS REQU|RED BY PARAGRAPHS ], 2, AND 3, ABDVE, AR.E 'I`RUE AND CORRECT COPIES OF THE
DRIGINAL DOCUMENTS.

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DECLARATION

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CaSe 8-17-74291-|38 DOC 8-3 Filed 09/25/17 Entered 09/25/17 10216:55

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CaSe 8-17-74291-|38 DOC 8-3 Filed 09/25/17 Entered 09/25/17 10216:55

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15 Yellow Top Ln, Smithtowrl, N¥ '11?87

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Hnrrle 15 within an area that 15 \':en\ra!|]\l heated and whe¥e
homeowners enjoy easyl access 10 our local mnveniennea.
shopping sdwup|a. parks and other p}acea of lowest

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CaS€ 8-17-74291-|38 DOC 8-3

N. l:l.lrranl Listlngs_

Filed 09/25/17 Entei’ed 09/25/17 10216:55

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Liattng 3 near all rna.inta.lnel:ll close lo so resources end shopping and schools, newer heating system

' listing 1 ss lhe mosl comparable |»slirzg to the subienl.

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15 Yellow Tcp Ln
Smill‘ltown, NY
1178?

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1178?

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Sbl¢l 2 Sin'lllal' alzB, style and lucailur\. newer windows and doors, close to stomach

Scld 3 fonee, porch peiio, cedar hlm. |o\'\¢r taxeo, close to all area resources larger lot

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CaSe 8-17-74291-|38 DOC 8-3 Filed 09/25/17 Entered 09/25/17 10216:55

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Sales P'rico 8?85.|]0|} $?85,000

Gomments Regarding Prtoing afraier

| looked ai the sold camps as well as the assessed ve|uo of 'Ihe subject property to help determine the Suggested L‘is't Frice. °iot
size .53 is correct MLS listing to support 2l:lii? year built and 3800 square foot attached Also. subjeci la located in s geled
community 'Yellow Top Farms' development built 2001 Ptease not that subject ss valued belowr the adjacent properly lhat. is on
the marlnet. 6 Hemlet and 120 \N'lndwalch erc smallor uniis. located in en inferior school district with fewer amenities 6
Sheppa,rd ls a smaller unit irl an inferior location with fewer emem'iies.

Vl[l. Cloar Capital finality Assuranoe Comments Addendum

lioleer Variam:e from prior reporl ie dua id the Gi.A being larger then previously reported. GLA la being esumated. but

Notea broker has provided a prior MLS sheet to support the GLA he uaed. Eroker‘e conclusion tenants a market price for
the subject Comps are wl1hlr\ a reasonable distance relatively current. and accurately reflect the subject’s deming
diaraoterisiicc. Thu.s, the price concluelon appears to be adequately supported

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IX. Proper¢y images lorrande

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|X. Prope:‘ty images (continued]

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IX. Fropeny images [oorltinued)

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CaSe 8-17-74291-|38 DOC 8-3 Filed 09/25/17 Entei’ed 09/25/17 10216:55

iX. Property images (coniinuod}

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CaSe 8-17-74291-|38 DOC 8-3 Filed 09/25/17 Entei’ed 09/25/17 10216:55

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CaSe 8-17-74291-|38 DOC 8-3 Filed 09/25/17 Entered 09/25/17 10216:55

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DOC 8-3 Filed 09/25/17 Entered 09/25/17 10216:55

 

 

Cross Slrwk: maide
Dlmclinnu: Smithtown Bypass To F|aisled To Ye!|owlop

List Price: $849,000

 

 

 

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l:level: Ruoms; B

achnols: 1 Smimtown Br: 5 HBR 131 F|nor: N
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Offers of compensation are for MLSLI Pad:‘c."pan!s onfy_

 

usi Agent: Towne. Lisa

 

ust nmkar: Century 21 AA Realty{ A-AUZ)

516-826-8100

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Clear|ilaps Addendum
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CaSe 8-17-74291-|38 DOC 8-3 Filed 09/25/17 Entel’ed 09/25/17 10216:55

Addsndi.irn: Raport Purpcsa

Market Approach and Niarket Timo

The Market Appi'oai:h or this report as established by the ci.istor'i'ierr is' Falr hisrltst Pri¢:e. lSee definition below.]
Tl'ie Mariioting Tlrrie as specified by the customer is Typlcal. {Seo definition below.]

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compelled cy undue pross-.ir-c and both navir‘r;\ reasonable knowledge ct relevant locts.

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'.T amctmg i'ime i'hz -n:- " rt L-:tre the property is expose-3 to a pool cl prospective buyers actors going into contract

  

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suo}ecl`s * 'areii auditor __ ' an "‘ '“'°" ‘ " `, llrrie.

Tyon::il lot Liical Miirltcl fha estimated lime required to adequately expose tito subject property lo the marital resulting m a
contract ut solc.

 

Roport instructions

This section shows die instructions that were approved by tha customer end provided in the broker prior to completing ihs
icpnrl.

interior repo rl:Tlils assignment requires an interior inspecb‘on ct the property 'l'o schedule lhe inspection please contact the
interior access name and numbea within tour hours ol' accepting this report

if incorrect information is provided or there is no access lntorrnation. please check your local MLS and contact the listing agent
ior this property, if a lock bolt code or key code is provided, please inspect the property within 48 hours oi acceptance ll' you
experience any of the below issues. contact C|ear Cap`ital Brolrer Si.ippon within 24 hours so we can assist you with the
completion ol‘ this repon:

l. Unaoia lr.'i reach the Poinl of Contoct lPClCl ~ please roach out lo the POC a minimum ol' 2 times before contacan Giear
Capitai

2. Difiicuities scheduling en appointment

3. Locit Eloxiitey Code issues [Lock Box riot orr lite prcperly, code does nol worii}

4. An appointment has been made but it is peat your due date and lime

Purpose. Fair il.laritet Price
Plesse determine a fair market price ioi: this ptopeny at which it would salim a typical monitoring time lor the area.

Custorr'er$peci'nc Note:
Comp proximity is this client's primary focus. t'.'iihar search parameters cert be expanded in order to provide camps from the
subjects immediate neighborhood ll' diaianca must ha expandedl please provide a detailed explanation

Cornpemhle Requirornsnla.

1. P|easo usa comparebies horn the same neighborhood block or subdivision witcoevar possible

?_ t.lse norrnallnon-distressadiunforced sales and listing comparabies whenever posslb|e. |f distressed activity is the prevailing
market force ln the neighborhood please ensure detailed comments are prouldad.

3. Do not use damaged or abandoned properties tcrat:losures. REOs. or properties clearly inienor compared to the general
neighborhood standard

4. whenever possiblel use camps that have sold during a siniilar seasonal market ss compared to the effective date cl tha report
5. Whanevcr possible, use combs that have closed in thc past 3 months to show the current market conditions in rapidly
changing rrarkcls. active listing coilth should tie given equal or greater weight than sold camps in your snaiys|s,

6. in assessing ihsAS-l$price lot the aimiect, please take il lo rnean‘.

» Nonneli' non-dlslressecir unlorecsd sale

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l i'-\lmh'lrtg non-distressed marketing timellt'tes typical for lite neighbcll'lto'cd.

'r. in assessinot]ulck Sele price lot the subjectl please take it to meah.

. Norrnal‘ non-distressed unt'orced ir.aier.sl allowing 30 days to secure a buyer
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Etanderd instructions

We greatly appreciate your expertise li you cannot personally inspect the prcpeity. select oompsrobtes, soo determine a price
for the subject dc not accept this report Par the EF'D Stendards end Guideti'nes adopted by Cleer Capital and other industry
leaders the usa ot assistants to complete any of the aforementioned tasks is riot perrrtitted.

1. Flease use tha subject characteristics provided in the report Grid [il' we preloaded therri) to evaluate tha properiy. Thla
information is from a lull interior appraisal and is assumed to he most accurate. li your inspection reveals obvious inaccuracies
please explain in the narrative ol' the report

2 include sullicienl detail to help our mutual customer grain a complete understanding oi the subjects neighborhood such as
amenitiss. parks, smools, commercia|. or industrial lntiLierlces. etc.

3, Pleaae dc not approach the occupants orr owners

4. if the subject is a commercial propany, please contact Clear Capital immediately at 530-532-5011 tor direction on how to
proceed with the report

5. ll the subject properly is currently listed on the markot. please attach the MLS sheet

E, lf a dispute is opened alter an order has closeil. you will be required to make revisions or comments unthln 24 hours of being
contacted by entail or phona.br i'> ‘i'. P|ease do not accept ll you or your attica has completed a report on this properly in the last
3 monihs. are currently listing this property or have any vested interest in the sub}eot properly

1 , Ona current, original photo of the front cline subject

2. One address verification photo

a. Orte street scene photo looking down the street

4. At least a interior photos - one creech rocrn. ann any glaring items that afiei:t the valuation of the property positively or
nogatlvety_

5. MLS listing and sold comp photos requirad, please comment ii no MLS.

Digita| Photos Requlred

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CaSe 8-17-74291-|38 DOC 8-3 Filed 09/25/17 Entei’ed 09/25/17 10216:55

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Phona 5313313100 Et'nall ri‘\i`|i'ehage@opton|ins.net

Date Sig nod MM»'E|J\?

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This document is not an appraisal as defined by UBPAP lUn|forrn atandarda or Frofssslonal Appraisll Fiactiost. lt is not to ha
construed aa an appraisal and may not he used as such for lny purpocn.

Unlsss otherwise specifically agreed to in wittirtp‘.
‘l'ho hitandad purpose ofthia report ta to assist the _Qlaarf.ta'pitsl account holder in making decisions within tha scope ot applicable
and and par .` due dillganca. `l’hla document is provided solely for fha usa of the
Clsar Capltal account holder and not any other party, is not intended as any guarantee of value andror condition of the subject
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